       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 1 of 16 PageID #:146



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JOYCE PETTYE,                                  )
                        Plaintiff,             )           Case Number: 1:15-cv-7669
                 v.                            )
                                               )           Judge: Hon. Amy J. St. Eve
SANTANDER CONSUMER USA, INC.,                  )           Magistrate: Hon. Maria Valdez
              Defendant.                       )

                               PLAINTIFF’S RESPONSE IN
                      OPPOSITION TO DEFENDANT’S RULE 12 MOTION

          This lawsuit seeks redress for predatory practices by subprime lender Santander

Consumer USA, Inc. (“Santander”) in connection with the financing of automobile loans.

Santander’s practices have come under scrutiny by federal and state regulators nationwide. These

practices have a particularly insidious discriminatory impact on black women, like the Plaintiff

in this case. Plaintiff was induced to finance a loan with Santander at an outrageous and usurious

interest rate of 27%. Further, her loan was further padded with the sale of a void and worthless

“GAP Addendum,” which offered her no protection and was pure profit to Defendant Santander

and the car dealer that originated the loan on its behalf.

          Defendant moves to dismiss these claims, but the motion should be denied. As to the

ECOA claims, Defendant cites three cases construing the ECOA: two of these were Rule 12

decisions, both of which denied the motion to dismiss; the third was a summary judgment

decision that Defendant misleading implies ruled on the sufficiency of the pleadings. As to the

TILA claims, Defendant fails to meet its burden of showing that the GAP fee was properly

excluded from the finance charge under the regulations governing debt-cancellation coverage

because Plaintiff did not, in fact, receive actual debt-cancelation coverage.




	                                                 1	  
                            Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 2 of 16 PageID #:147



                                                      After the filing of Plaintiff’s original complaint, Plaintiff learned that the Consumer

Financial Protection Bureau had initiated an investigation into whether Defendant’s practice of

paying “dealer reserve” 1 and promoting “add-on”2 products violated the ECOA by producing a

disparate impact in loan outcomes in groups such as minorities and women. Soon thereafter,

auto-industry lenders succeeded in lobbying the U.S. House of Representatives to vote to strip

the CFPB of its power to investigate this pressing consumer issue (H.R. 1737). Notably, this

provision has not become law. Nonetheless, this development prompted Plaintiff to investigate

Defendant’s “dealer reserve” and “add-on” policies in the context of targeting her based on her

identity as a black woman. As a result of this investigation, Plaintiff amended the complaint to

add an ECOA claim.

                                                      Now, Defendant has filed another Rule 12 motion. In relation to Plaintiff’s ECOA Count,

Defendant has added to its briefing a mere 3 pages, arguing principally that Plaintiff’s allegations

are too “general.” Just as Defendant’s TILA argument ignores the primary deficiency in its

reasoning (that Plaintiff was sold a product that provided no value and was merely an excuse to

inflate the purchase price of the loan), Defendant’s ECOA argument is underdeveloped and asks

the Court to dismiss Plaintiff’s ECOA claim on the basis of Rule 12 cases that deny such

motions with near-identical facts, and a summary judgment decision in a case where the

statistical evidence was found only after the opportunity for discovery.


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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         “Dealer reserve” (sometimes called participation) is a practice in automobile lending similar to
the yield-spread premium (YSP) in the mortgage context. Indirect lenders such as Santander circulate
“rate sheets” to dealers identifying the “buy rate” (i.e. interest rate) at which they will accept a finance
contract for consumers in various credit tiers. An example of what a rate sheet might look like is attached
as Exhibit A. If the dealer generates a contract at a higher interest rate then the dealer and Santander split
the extra money. See Amended Complaint, ¶¶ 10-19.
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        “Add-ons” refer to F&I products such as debt-cancellation insurance, window-etching,
rustproofing, credit life and disability insurance, extended service contracts, etc.
	  


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       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 3 of 16 PageID #:148



I.        Plaintiff Alleged a Plausible Claim for Relief Under the ECOA

          The Equal Credit Opportunity Act (“ECOA”) prohibits discrimination in credit

transactions, including discrimination cases based on a “disparate impact” theory. Zamudio v.

HSBC North America Holdings, Inc. 2008 WL 517138 at *2 (N.D. Ill. 2008);

Latimore v. Citibank, F.S.B., 979 F. Supp. 662, 664, fn. 7 (N.D.Ill.1997); Metro. Hous. Dev.

Corp. v. Vill. of Arlington Heights, 558 F.2d 1283, 1288-90 (7th Cir.1977); Cf. Smith v. City of

Jackson, 544 U.S. 228, 241 (2005).

          Defendant argues that Plaintiff fails to allege an ECOA claim because Plaintiff has not

identified a specific discriminatory policy, relies on “general” statistics, and has not alleged

discriminatory animus by Santander. This last assertion is irrelevant to a discriminatory impact

claim – a plaintiff proceeding on a disparate impact theory need not allege racial or gender

animus. Grant v. Bethlehem Steel Corp., 635 F.2d 1007, 1014 (2nd Cir.1980) (“Proof of motive

is not required to sustain a claim of disparate impact.”); EEOC v. Chgo. Miniature Lamp Works,

947 F.2d 292, 297 (7th Cir. 1991)(“In a disparate impact case, however, motive is irrelevant”).

Moreover, contrary to Defendant’s assertion, Plaintiff identifies specific, facially-neutral,

practices that cause a disparate impact on black women: (1) that of awarding a dealer reserve,

and (2) the promotion and financing of add-on products, such as the so-called “GAP Addendum”

(Amended Complaint at ¶¶ 158, 159, & 162(a)).

          Rather than directly dispute that Plaintiff has alleged particular practices that have a

causal relationship with the discriminatory impact on the protected group of which Plaintiff is a

member, Defendant mounts a more vague attack on Plaintiff’s use of so-called “generalized”

statistics. Defendant at times seems to be taking issue with particular studies cited in Plaintiff’s

complaint that demonstrate industry-wide impacts of dealer reserve and related practices




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       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 4 of 16 PageID #:149



employed by Santander and other institutions in equal measure (“However, general statistics are

not enough alone to establish a prima facie claim for disparate impact under the ECOA,” Def.’s

Memo. at p. 14.) But Defendant does not cite a case holding that only statistics specific to a

particular plaintiff can be used to support a disparate impact claim at the pleadings stage (such a

holding would make such claims impossible to allege, much less prove).

          Indeed, Defendant misrepresents the single case it does cite on the issue of what it calls

“general statistics” - A.B. & S. Auto Serv., Inc. v. S. Shore Bank of Chicago, 962 F. Supp. 1056

(N.D. Ill. 1997). Implying that A.B. & S. was a ruling on the pleadings, Defendant adds its own

language to its pinpoint quotation from the case. There, the court questioned the usefulness, at

the summary judgment stage (and after expert discovery), of statistics “of a very general nature

[that] do not relate specifically to the policy identified as having a discriminatory impact” 962 F.

Supp. at 1061. Defendant misrepresents this holding by adding its own language to the prior

phrase: “[such statistics] do not satisfy the pleading requirement for an ECOA disparate impact

claim.” (Def.’s Memo. at p. 14, emphasis added.) The italicized language is nowhere to be found

in the A.B. & S. opinion. The court in A.B. & S. said nothing at all about the pleading

requirements for an ECOA disparate impact claim, because A.B. & S. was a summary judgment

decision, rejecting plaintiffs’ attempt to use statistics insufficiently-related to the parties to prove

the case, and holding that plaintiffs there failed to meet their evidentiary burden. There is

nothing suggesting that such statistics, along with allegations concerning Defendant’s market

share, allegations concerning regulatory action taken against Defendant for the challenged

conduct, specifically, and allegations concerning Plaintiff’s individual experience, cannot be

used to support the plausibility of Plaintiff’s claim in the face of a Rule 12 challenge.




	                                                 4	  
       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 5 of 16 PageID #:150



          Elsewhere, Defendant’s attack on the Amended Complaint’s so-called “general”

allegations might more appropriately be construed as an attack on the adequacy of Plaintiff’s

policy and practice allegations (e.g., “it is insufficient to point to general policy, but rather

plaintiff must isolate a specific practice allegedly responsible for statistical disparities,” Def’s.

Memo. at p. 14.) But other than citing to case law referencing the issue – cases that, as discussed

below, actually support denial of the motion to dismiss – Defendant does not even discuss

Plaintiff’s specific policy and practice allegations. Instead, Defendant simply makes a blanket

assertion about “general policy” with no discussion, and cites two cases – both of which denied

motions to dismiss ECOA claims challenging similar practices in a mortgage loan context.

          In Hoffman v. Option One Mortgage Corp., 589 F. Supp. 2d 1009, 1011 (N.D. Ill. 2008),

the plaintiffs alleged that “Statistical analysis of discretionary charges imposed on minority and

white customers of other mortgage companies that use credit pricing systems structured like that

of Option One and/or H & R Block Mortgage has revealed that minorities, after controlling for

credit risk, are substantially more likely than similarly situated whites to pay such charges”; that

“the subjective charges imposed under the Policy disproportionately adversely affect minorities”;

that “payment of yield spread premiums or other broker compensation and the use of adjustable

rate mortgage products” cause the disparate impact, and “that plaintiffs paid more subjective

charges for their loans than white borrowers as a result of the Policy.” The court found these

allegations sufficient to withstand a Rule 12 motion, and rejected the defendants’ challenge to

the plaintiffs’ use of industry-wide data and studies. 589 F. Supp. 2d at 1011, stating:

          Plaintiffs must identify a specific practice or policy responsible for the disparate impact.
          See Smith, 544 U.S. at 241, 125 S.Ct. 1536 (explaining that it is insufficient to point to
          general policy, but rather plaintiff must isolate specific practice allegedly responsible for
          statistical disparities). Defendants argue that plaintiffs have not identified a specific
          policy, but rather attack defendants' overall loan pricing policies. But the complaint
          focuses on the subjective charges assessed pursuant to defendants' “Discretionary Pricing



	                                                 5	  
       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 6 of 16 PageID #:151



          Policy” (“Policy”)—not the overall pricing process, which also encompasses charges
          imposed based on “objective risk-related” criteria.

          Similarly, in Steele v. GE Money Bank, 2009 WL 393860 the plaintiffs alleged “that the

defendants ‘designed, disseminated, controlled, implemented and profited from the

discriminatory policy and practice,”’[...], authorized their brokers and correspondent lenders to

impose non-risk-based charges, including YSPs and other discretionary fees, and “regularly

communicated applicable par rates, authorized yield spread premiums, and other discretionary

fees to brokers and correspondent lenders via ‘rate sheets' and other communications,” [citations

omitted], and that “the defendants' facially neutral “Discretionary Pricing Policy” was a means of

‘systematically giving [Plaintiffs] mortgage loans with less favorable terms than were given to

similarly situated non-minority borrowers.’”

          The Steele court held that those plaintiffs adequately alleged a specific policy or practice

and that a causal relationship existed between the alleged policy and the alleged disparate

impact. The court noted that the complaint adequately defined the particular practice for which it

alleged the defendants were responsible, and later stated: “[T]he complaint plausibly points the

finger at the defendants' alleged practices and thus provides sufficient detail to give the

defendants fair notice of the nature of the plaintiffs' argument about causation and the ground

upon which it rests.” Steele v. GE Money Bank, No. 08 C 1880, 2009 WL 393860, at *5 (N.D.

Ill. Feb. 17, 2009) citing Limestone Dev. Corp. v. Village of Lemont, 520 F.3d 797, 803 (7th

Cir.2008).

          The court in Steele also opined on the plaintiff’s disparate impact allegations, which, as

here, made heavy use of statistics supporting the plausibility of the existence of such an impact.

In rejecting the defendants’ objections to such statistics, the court held: “It is well established

that statistics may be used to support a disparate impact claim.” Steele at *4 citing Teamsters v.



	                                                  6	  
       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 7 of 16 PageID #:152



United States, 431 U.S. 324, 339 (1977). The opinion continues: “the court, however, need not

delve into the degree that statistics by themselves can support a claim of disparate impact

because the plaintiffs do not rely exclusively on statistics. Instead, they allege that they were

harmed by specific policies put in place by the defendants, and that this caused them to pay more

than similarly situated non-minority borrowers.” Id.

          Here, while Plaintiff appropriately made use of a number of statistics in support of her

claim, as in Steele, she hardly relies upon them exclusively. Rather, Plaintiff’s complaint

discussed extensively the sociological mechanisms by which Defendant’s facially neutral

discretionary pricing policies brought about a disparate impact in loan outcomes upon blacks,

women, and black women in particular. Relating these mechanisms to her own experience,

Plaintiff’s complaint notes how her loan was saddled additional charges for products she was

unaware to have purchased, with an interest rate so high that it exceeded the program limits on

one of those products entirely, with Santander happily splitting the proceeds with its dealer.

Plaintiff ties Defendant’s discretionary pricing policy directly to the impact both experienced by

her protected group in the aggregate, and by her in particular, via her own loan outcome (which,

as argued above, independently violates state and federal lending laws). Plaintiff’s allegations are

at least as well-developed as those in Hoffman and Steele, and more than adequately and

plausibly support Plaintiff’s claim for relief against a Rule 12 challenge.

          The decisions in Hoffman and Steele are consistent with other Rule 12 decisions

examining ECOA claims involving discretionary markups in auto financing. See, e.g., Jones v.

Ford Motor Credit Co., 2002 WL 88431 at *4 (S.D.N.Y. Jan. 22, 2002) (“Although plaintiffs

concede that the first stage of the credit evaluation consists of considering objective risk-based

factors, their claim against Ford Credit is aimed at the role Ford Credit plays in authorizing




	                                                 7	  
       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 8 of 16 PageID #:153



subjective mark-ups in the second stage. Taking plaintiffs' allegations as true, that Ford Credit is

involved in a subjective scheme which has a disproportionate negative effect on African–

Americans, plaintiffs have stated a claim for disparate impact. Other courts have come to similar

conclusions regarding the right of plaintiffs to bring disparate impact claims under the ECOA”);

Smith v. Chrysler Fin. Co., 2003 WL 328719 at *7 (D.N.J. Jan. 15, 2003) (“This court does not

agree with Defendant's argument that Plaintiffs failed to identify a specific practice or policy that

resulted in the alleged discrimination. [...] Defendant argues that their actions are not improper

because they are simply following a recognized business practice within the financial industry.

These arguments are not compelling because the law does not allow subjective mark-up policies

that result in discrimination against a protected class absent a valid business justification.

[citations omitted] Defendant fails to provide a valid business justification for its actions that

result in discrimination”) citing Wards Cove Packing Co. v. Atonio, 490 U.S. 642, 657 (1989),

Griggs v. Duke Power Co., 401 U.S. 424, 431 (1971).

          In alleging her disparate impact claim, Plaintiff identified as the challenged policy

precisely the sort of discretionary subjective mark-up practices that were at issue in Jones and

Smith. Where this sort of facially neutral policy introduces subjectivity into the credit evaluation

process, and a disparate impact results, as alleged here, the facts sustain an ECOA claim. Jones

at *3 (“The Official Staff Interpretations of Regulation B explain that the effects test disallows ‘a

creditor practice that is discriminatory in effect because it has a disproportionately negative

impact on a prohibited basis, even though the creditor has no intent to discriminate and the

practice appears neutral on its face.’”) citing 12 C.F.R. Part 202, Supp. I, § 202.6(a)(2).

Moreover, “[s]tandardized criteria within a business practice can be used as evidence of a

disparate impact.” Smith at *7 (“This Court finds that Plaintiffs have identified a practice or




	                                                 8	  
       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 9 of 16 PageID #:154



policy that could cause a disparate impact upon African–Americans, and Defendant has failed to

provide a valid business justification which cannot be achieved in a non-discriminatory

manner”). Indeed, not a single opinion has been cited to this Court whereby a rule 12 motion was

granted relative to allegations involving the dealer reserve practice.

          All in all, the Amended Complaint states a claim under the ECOA because it:

          (1)    Alleges that Defendant, the indirect lender and ECOA creditor (Amended

Complaint at ¶¶ 6-8, 144, & 146) engaged in a discretionary pricing policy wherein dealers were

permitted to negotiate credit prices above what Defendant was willing to accept (Amended

Complaint at ¶¶ 9-20), imposing yield spread premiums and add-on charges on consumers

without disclosure of the discretionary policy (Amended Complaint at ¶¶ 30-32).

          (2)    Incorporates a rich body of statistical evidence concerning both Santander and the

auto-finance industry at large that black women, a protected group, experience a disparate impact

in the form of demonstrably worse credit loan outcomes when compared to the population at

large, and white men in particular (Amended Complaint at ¶¶ 21-24, 25-29 [Devlin study], ¶¶

34-35 & 42 [Cohen study], ¶¶ 36-38 [CFPB data], ¶¶ 40, 45-47 [American Economic Review

study], ¶¶ 55-56 [Ayres study]). The complaint also discusses the sociology of intersectionality –

the effect of simultaneous beings in more than one protected class (Amended Complaint at ¶¶

48-55).

          (3)    Claims that this disparate impact is caused by the discretionary pricing policy that

exposes Plaintiff and members of the protected to class to discriminatory loan outcomes

(Amended Complaint at ¶¶ 158-159 & 162), and ties these practices to Santander specifically

through investigative journalism and the CFPB (Amended Complaint at ¶¶ 64-68).




	                                                9	  
       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 10 of 16 PageID #:155



II.       Plaintiff Alleged a Plausible Claim for Relied Under the TILA & IMVRISA

          Congress enacted TILA “to assure a meaningful disclosure of credit terms so that the

consumer will be able to compare more readily the various credit terms available to him and

avoid the uninformed use of credit, and to protect the consumer against inaccurate and unfair

billing and credit card practices.” 15 U.S.C. § 1601(a) “In order to effectuate this purpose, TILA

requires creditors to disclose clearly and accurately to consumers any finance charge that the

consumer will bear under the credit transaction. [] These stringent disclosure requirements are

designed to prevent creditors from circumventing TILA's objectives by burying the cost of credit

in the price of the goods sold.” Walker v. Wallace Auto Sales, Inc., 155 F.3d 927, 930 (7th Cir.

1998); citing Mourning v. Family Publications Serv., Inc., 411 U.S. 356, 364 (1973); see also

Gibson v. Bob Watson Chevrolet–Geo, Inc., 112 F.3d 283, 285 (7th Cir.1997) (stating that

TILA's purpose is “to protect consumers from being misled about the cost of credit”).

          In order to meet these charges, the TILA and its implementing regulation, Regulation Z,

expressly define the particular sorts of charges that may be included in a RIC disclosure in the

“amount financed” rather than disclosed as a “finance charge,” as the charge in this case was. If a

charge is not of the sort expressly identified by Regulation Z, it must be disclosed as a finance

charge. Here, Defendant attempts to take shelter under the provision of Regulation Z permitting a

debt cancellation coverage charge to evade a finance charge disclosure; but as alleged throughout

the Amended Complaint, the charge at issue is not a debt cancellation coverage charge at all,

notwithstanding Defendant’s attempt to label it as such to avoid TILA’s disclosure requirements.

          The TILA violation alleged here is precisely the sort contemplated by the authority cited

above. Plaintiff has been charged $895.00 for which she received absolutely nothing in return.

The additional payment she made for GAP “protection” (unknowingly, as it happens), provided




	                                                10	  
       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 11 of 16 PageID #:156



her no debt cancellation coverage under any circumstances, and Defendant’s disclosures are not

permitted to cover up or obscure this fact by surreptitiously slipping the illusory charge into the

amount financed as if it was a charge that provided Plaintiff anything of value.

          A.     The charge at issue is not a “debt cancellation fee”

          Defendant’s primary argument is that the charge at issue satisfies the three narrow

requirements for when a bona fide debt cancellation fee may be disclosed as part of the “amount

financed” rather than the “finance charge”: “Under Regulation Z, [...] debt cancellation fees may

be excluded from a finance charge in a car purchase if three requirements are met: A) the debt

cancellation coverage is not required by the creditor and this fact is disclosed in writing; B) the

fee or premium for the initial term of coverage is disclosed; and C) the consumer signs or initial

an affirmative written request for coverage after being given the previous two disclosures.”

Rodriguez v. Lynch Ford, Inc., No. 03 C 7727, 2004 WL 2958772, at *10 (N.D. Ill. Nov. 18,

2004). Defendant’s arguments to this effect are off-point – they gloss over the dispositive

question: whether or not the worthless, illusory GAP charge at issue meets the definition of a

“debt cancellation fee” at all.

          As noted, Regulation Z includes a carve out, discussed in Rodriguez, for so-called “debt

cancellation fees.” Specifically, 12 C.F.R. § 1026.4(b)(10) states that the amount disclosed as the

“amount financed” may include “c]harges or premiums paid for debt cancellation or debt

suspension coverage written in connection with a credit transaction, whether or not the coverage

is insurance under applicable law.” [emphasis added]. However, the GAP Addendum

incorporated into the RIC by reference explicitly states that the charge provides no “coverage”

for Plaintiff’s RIC as required by 12 C.F.R. § 1026.4(b)(10). That the dealer may have

committed fraud in conning Plaintiff into purchasing a worthless “protection” product is not at




	                                                11	  
       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 12 of 16 PageID #:157



issue; the dealer is not a party to this case. The question before the Court is whether Santander

violated the TILA by consummating the deficient disclosures despite knowing that the unethical

charge had tainted the TILA disclosures – and such a happenstance is precisely why the TILA

imposes strict technical requirements on lenders.

          B.     Defendant’s “GAP Protection” charge fails the test imposed by Regulation Z.

          Regulation Z’s exception allowing so-called GAP protection or insurance products to be

included in the amount financed requires strict compliance. See, e.g. Rodriguez at *10 (denying

summary judgment to defendant even where written voluntariness disclosures were adequately

made pursuant to Regulation Z, due to a fact dispute about whether additional contrary oral

statements were made). Particularly relevant to whether Defendant’s GAP charge would satisfy

the prerequisites for this exception is the second requirement, that “the fee or premium for the

initial term of coverage is disclosed” Id. [emphasis added]. Here, Defendant could not have

satisfied this condition, because, as discussed above, there was no initial term of coverage at all.

By the plain language of Plaintiff’s RIC and the addenda attached thereto, Plaintiff was not

entitled to any coverage in consideration for the charge she paid that was designated a debt

cancellation charge. Because the charge did not actually entitle her to any debt cancellation

coverage or relief, it was not a “[c]harge[] or premium[] paid for debt cancellation or debt

suspension coverage” 12 C.F.R. § 1026.4(b)(10).

          C.     The violation is apparent on the face of the documents

          The statute describes two ways in which an “apparent” violation can be detected: “(1) a

disclosure which can be determined to be incomplete or inaccurate from the face of the

disclosure statement or other documents assigned, or (2) a disclosure which does not use the

terms required to be used by this subchapter.” 15 U.S.C. § 1641(a).




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       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 13 of 16 PageID #:158



          Defendant’s argument that the worthlessness of Plaintiff’s so-called “GAP Protection”

product is not apparent on the face of the documents is without merit. The Retail Installment

Contract plainly on its face includes the illusory charge as part of the “amount financed” rather

than the “financed charge.” The GAP Protection Addendum incorporated into the RIC by

reference states unequivocally that the product does not provide any coverage for Plaintiff’s RIC,

as required by Regulation Z in order to take shelter under the exception.

          Defendant’s cases on this issue do nothing to help its position. Defendant does not cite a

case holding that a TILA violation present in the plain language of the Retail Installment

Contract ratified by an assignee is not “apparent on the face of the documents.” In fact,

Defendant’s precedent holds the opposite. Unlike the instant case, each of the cases cited by

Defendant involves TILA violations arising from either representations or conduct committed by

the originators of the loans without the creditors’ knowledge.

          For instance, in Taylor v. Quality Hyundai, Inc., 150 F.3d 689 (7th Cir.1998), the Seventh

Circuit considered the issue of assignee liability for an “amount paid to others on your behalf”

disclosure that was inaccurate because the originating dealer failed to remit the disclosed amount

to the relevant third parties. Importantly, in Taylor, there was no way for the defendant assignee

to have discerned from the RIC and associated documents alone that the originator had not made

the remitter it had claimed in the TILA disclosures. Thus, the Court ruled that “[o]nly violations

that a reasonable person can spot on the face of the disclosure statement or other assigned

documents will make the assignee liable under the TILA.” Taylor at 694. However, this holding

does not mean that only blatant errors of arithmetic can lead to assignee liability under TILA.

Taylor merely held that “§ 1641(a) does not impose a duty of additional inquiry on assignees.”




	                                                13	  
       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 14 of 16 PageID #:159



Id. (“we cannot agree that awareness of the practices of some creditors can be equated to

knowledge that a particular disclosure on a particular TILA form is inaccurate or incomplete.”).

                  Defendant’s citation to Ritter, another failure-to-remit case, is similarly misplaced.3 Ritter

involved a Rule 12 motion to dismiss multiple TILA allegations; the court declined to consider

arguments on the first two claims alleged by the plaintiff in that case because it would have been

unable to resolve the issue without straying outside the pleadings, but ruled upon the plaintiff’s

claim that a warranty charge was included as part of the “amount paid to others on your behalf”

rather than the “finance charge” despite the fact that the dealer retained a portion of the warranty

charge, without disclosure of this fact. Ritter v. Durand Chevrolet, Inc., 932 F. Supp. 32, 34 (D.

Mass. 1996). The court ruled that this practice was a TILA violation as to the dealer, but declined

to hold the assignee liable pursuant to the “apparent on the face of the documents” carve out, 15

U.S.C. § 1641(a), because the fact that the dealer had retained a portion of the warranty charge

(and not disclosed this fact in any documents) was not apparent on the face of the disclosure

statement or other documents assigned, Id. at 35 (“the mere allegation that BayBank had general

knowledge of the dealer's practice is not sufficient to find that BayBank violated §1641(a)”)

                  Indeed, in describing the sorts of facially apparent violations that do lead to assignee

liability under TILA, Taylor employed an analogy that could easily be applied to the instant case:

                  In effect, the rule for which the plaintiffs are arguing would impose a duty of inquiry on
                  financial institutions that serve as assignees. Yet this is the very kind of duty that the
                  statute precludes, by limiting the required inquiry to defects that can be ascertained from
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
3	  	                                               The third case cited by Defendant on this point, Miranda, provides no authority whatsoever:
there, the Plaintiff expressly disclaimed seeking statutory damages under TILA, and so the court never
even considered the question of whether the violation alleged there was apparent on the face of the
documents. Miranda v. Universal Fin. Grp., Inc., 459 F. Supp. 2d 760, 764 (N.D. Ill. 2006). While the
precise nature of the violation Miranda alleged is not apparent from the above-reference opinion, a
PACER search reveals that she appeared to allege some sort of scheme to pay the originating creditor’s
loan officer a commission out of the loan proceeds without disclosure of the amount as a “finance
charge.” Naturally, such a violation would not be apparent on the face of those documents, and has little
bearing on the instant case, where the violation arises from the express terms of Plaintiff’s RIC.	  


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       Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 15 of 16 PageID #:160



          the face of the documents themselves. A useful analogy is the duty of banks to review
          documents presented under a letter of credit. Like an assignee bank reviewing a TILA
          statement, a bank reviewing a letter of credit is responsible for noticing facial
          irregularities, such as statements that are illegal, impossible, or in conflict with other
          terms.

Taylor at 694 [emphasis added].

          The illustrative violation described by the Seventh Circuit in Taylor is exactly the sort

that Defendant is alleged by Plaintiff to have committed here. That Plaintiff’s interest rate

exceeded the program limit for the GAP Protection product that she was charged $895 for, and

that that $895 provided Plaintiff absolutely nothing in return, is a facial irregularity that any

reasonable assignee creditor should and would detect. The inclusion of the GAP charge as part of

the “amount financed” is in conflict with plain terms of Plaintiff’s RIC, from which it cannot be

denied that the money charged to Plaintiff and disclosed as a fee for debt cancellation coverage

was nothing of the sort. Where Defendant’s cases involved dealer conduct that rendered TILA

disclosures deficient, in this case, it was the very terms of the RIC itself that did so. And

obviously, the plain language of a contract is apparent on its face.

          D.      State Law Claims

          As Defendant acknowledges, the validity of the state law claims depend on the TILA

argument (Def.’s Memo at 12). Because the TILA claims survive, so do the state-law MVRISA

claims.

          WHEREFORE, Defendant’s motion should be denied in its entirety.

                                                                Respectfully Submitted,
                                                                /s/ James P. Batson
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Case: 1:15-cv-07669 Document #: 26 Filed: 01/19/16 Page 16 of 16 PageID #:161
	  

                            CERTIFICATE OF SERVICE

       The undersigned, an attorney of record in this case, certifies that on today’s date, I

caused a copy of the foregoing to be filed via the Court’s ECF filing system, whereupon

all counsel of record were served.

Dated: January 19, 2016                                      /s/ James P. Batson




	  
